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EXHIBIT A

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UNI"[`EI) S'l"A'E`HS I)IS'Z`R}C“l` COURT
WESTERN DISTR,ICT Ol*` l\/IICHIGAN

EL§ZABETH LOWING.
Plalinlil`l`,
v.
JUSTIN V]SSER__. NEWAYGO C`-OUN'[`Y,
D/\I.,F: GIBBS, and VILLAGE OF l-lESPERl/\,

in their individle and 01`["1ciul capacities,

Del`endants.

CASE NO: 17-00650
HON: GORDON J. QUIST

 

CHRISTOPl-IER TRAINOR & ASSOCIATES
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HAIDER A. KAZ]M(P66146`)

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PLAIN'I`IFI"’S F`IRST Sl`§'l` OF INTERR()GATORIES TO I)IEFENDANTS GIBBS &

IIESPERIA

PLEASE TAKE N{)TICE that the following lnterrogatories are directed to Dei"endants

sunder the provisions ot` Ii`ederal Rules ol` Civil Procedure and the various subdivisions thereol`,

and you are required to answer said lnterrogatories with all the information as is available to you.

'i`he information to you shall include all information relevant to Federal Rules ol`Civil Procedure,

which is in thc possession or knowledge ol"your agents einployees, attorncys, investigators ortho

agents o[" the same.

You are required to tile answers to these interrogatories under oath within 'l`hirty (_30) days

after service of them upon you. A copy of your answers is to be served upon counsel i`or the

Plaintii`i`s, which said answers should be signed by you under oath.

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L.».)

INTERROGA'I`ORY INSTRUCTIONS

 

“Docutnent” means any handwritten typewritten, recorded, or graphic matter however
produced or reproduced, whether or not in the possessionj custody, or control of the
defendants and whether or not claimed to be privileged against discovery or any ground,
including but not limited to'. all contracts, reports, books, records, lists, memoranda,
correspondence, telegrams, telexes, appointment calendars, diaries, sehedules, films, videos,
photographsn sound recordingsj signed or unsigned documents, any and all prison/jail records,
as well as sent or unsent drafts ol` documents “Docunient” shall also mean and include the
original and every copy regardless oforigin or location

"‘identii"y`" when used in reference to an individual means to state that person"s full name,
present address, present or last known position and business ai"l`iliation.

When used in reference to persons or members o'l" a class, the tei'm_. "'identii`y" means to

identify each individual member or members ol" such class.

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9.

"`ldentil"y", "identit"ication”, or "describe" when used in reference to documents means to state
the following as to each such document (a) the title, il` any, and the nature and contents
thereot`; (b) the date; (c) the date the document was executed if different from the date it bears;
(d) the namer address, and position ot"tlte addressce, i[` any; (e) the present location and the
name, present address and position of the person having present custody; and {g) whether the
document has been destroyed and if so, with regard to such destruction, the date, the reason,
and the identity of the person or persons who destroyed the document

The above information shall be given in sufficient detail to citable a party or person to whom
a subpoena or Request for Production is directed to fully identify the documents sought to be
produced and to enable counsel for the Plaintiff to determine that such document_, when
produced, is. in l`act, the document so described

When used in these lnterrogatories\ the terms "‘you" and "‘your(s)” includes the Defendant as
well as the l)efendant"s agents, servants, employecs, partners, representatives experts and
consultants__ and unless privileged_, the attorneys

"Dat'e" means the exact date, month and year, it`ascertainable, ifnot, your best approximation,
which may include relationships to other events

if any information is withheld under a claim of privilege or other exclusion from discovery,
state the nature of the information or document withheld, the privilege or other exclusion that
is claimed_, and the facts upon which the claim of privilege or exclusion is based

The singulars shall bc deemed to include the plural and vice-versa and the words “and” and
"`or" shall be construed either conjunctivel§.-' or disjunctively. in the manner which affords the

broadest scope to the interrogatories

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10. Do not respond to any lnterrogatory merely by statingJ "see attachetl." Specil`rcally identify
the particular documents that are responsive to each lnterrogatory.
l l. l"or the convenience of the C`ourt and the parties, please restate each interrogatory to your
written response prior to your written identification ot`the produced documents
12. "l"he word, "person"` means any naturai person, firm or corporation_, partnership, joint venture,
or any other form ol`business entity
lN'I`E`RROGATORlES

l. Please state thc names and contact information and anyone who has knowledge of the
incident complained of and state the basis of their knowledge

RESPONSE:
2. Pleasc state the specific reason(s`) you carrie into contact with Plaintift` on the date of the

incident complained of and state the specific nature of all contact with Plaintit`[" on said date
(inciuding but not limited to conversations). Dr) nor si:rrpi'j-' reference cr police r'epr)i'!.

RESPONSE:

3. ln your own then-medical and personal) opinion` please describe Plaintifi"s demeanor
throughout your entire encounter with her on the date of the incident complained of.

RESPONSE:
4. On the date of the subject incident, did you ever give any specific orders to Plaintift`? ff

your answer is in the affirmative please state what specific orders were given and state Plaintit`f’s

response to said orders

RESPONSE:

5. On the date of the incident complained of, did you ever see Plaintit`f physically assault or
attempt to physically assault Robcrt Sanborn?

RESPONSE:

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o. On the date of the incident complained ot`1 did Plaintif'f initiate any physical contact with
l)et`endants'? lt` your answer is in the al`[irmative, please explain the circumstances

RESPONSF,:

7. On the date of the incident complained of, did anyone use any force against Plaintift`? lf
your answer is in the at;`l“rr'mative, please state the following:

a. Who used force;
b. rl`he nature of the force use;
c. The reasons for the force used; and
d. any injuries seen or complained of by Plaintiff.
RESP()NSE:
8. Was an “iiit`inite orbital maneuver"` used on Plaintift`? lfyour' answers is in the ai`t"rrrnative,

please explain what this maneuver is and why it was uscd.

RESPONSE:

9. Did any Defendant use or attempt to place Piaintit`t` in a “geoseriecl<.'?" if your answer is
in the al`t`ir'rnative, please explain what this maneuver is and why it was used.

RESP()NSE:

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'l`hesc Inter'rogatoi‘ies are deemed continuing up to and through the time of trial.

 

Names` titles, and signatures of persons
answering these Interrogator'ies.

     
  

Respectt`ully Submi t-d
CHRISTOP HE

‘?

O /& A ¢SOCIA'Y`ES

 
    
 
  

BY: / -
cirids’ror>naiz‘ .r. madison (P42449)
striva c. owner warren
Attorneys for §)laintift"

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Whitc lsal<e, l\/[l 48386

(243) sss-asso

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Dated: October 11, 2017
SCC

PROOF OF SERVICE

- 7
The undersigned certified that on the Mday of October, 2017,
a copy o'fthe foregoing document was served ripen the attorney (_s)
of "cord by mailing a copy ot`sarne to said attorney (s) at their
stl tec bt sr ss address wit pr -paid first-class postage affixed theretol
1 d g deter the penalt t of perjury that the foregoing statement is
truet tl 1 st ofin inf rmation, knowledge and belief.

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UNITED STATES DISTRICT COURT
VVESTERN DISTRICT OF MICHIGAN

ELIZ/\BE'[`H t.OWfNG,
Plaintiff,
v.
,lUSTIl\l VISSER. NEWAYGO COUNTY,
DALE GIBBS. and VILLAGE OF l~lESPERl/Ar,

in their individual and official capacitics,

f)el`endants.

CASE NO; 17»00650
HON: GORDON .l. QU`iS'I`

 

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PLAIN'I`[`FF’S FIRST REQUES'I` FOR PRODUCT]ON OF DOCUMENTS TO
DEFENDANTS GIBBS & HESPERIA

NOW COMES Plaintift" by and through her attorneys1 CH_R_lSTOPl"IER TRATNOR &
ASSOCl/\rl"fiS, and submits the following Request for Production of Docuinents to the Defendants.

This Requcst for Produetion ofDocumcnts is submitted pursuant to the chcr'al Rules ofCivil
Procedure. The information and documents sought must be given under oath, whether it is secured
by you. your agent._ representative1 attorney or any other person who has made this knowledge known
to your from whom you can get this information and documents or who is competent to provide the
information and documents you are requested to produce; the information and documents must be
served upon the undersigned Plaintiffs attorncy, CHRISTOPHER TRAINOR & ASSOCIA"§`ES,
within thirty (3 0) days from the date this Request For Production of Documents is served upon you.

'l`his Request for Production of Documents shail be deemed continuing and supplemental;
documents and/or information shall be required immediately upon receipt ther'eofifthe said parties
directed to produce them directly or indirectly obtains further or different information and/or
documents from the time the information and documents are served to the time of trial in this
matter ff the items requested no longer exist or they never existed please notate the same

REOUEST FOR PRODUCTION OI\` DOCUMENTS INSTRUCTIONS

l . “Doctrirrerrt" means any handwrittenj typewritten, recorded, or graphic matter however
produced or reproduced, whether or not in the possession custody or control of the defendants and
whether or not claimed to be privileged against discovery or any ground, including but not limited to:
all contractsJ reports, books1 reeords, lists, memoranda, eorrespondence, telegrams, telexes,
appointment calendars diaries, scheriulcsj films, \'ideos, photographs sound recordings, signed or
unsigned documents any and all prison/jail reeords_, as well as sent or unsent drafts of documents

"Document" shall also mean and include the original and every copy regardless of origin or location

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2. ""lcierrtit`y" when used in reference to an individual means to state that person’s full name,
present address present or last known position and business affiliation

3. When used in reference to persons or members of a ciass, the term, "‘identify“ means to
identify each individual member or members of such class.

4. "ldentify". "`identitication”_1 or "‘descril)e"’ When used in reference to documents means to state
the following as to each such document {a) the title, ifany_ and the nature and contents thereof: (b)
the date', {e) the date the document was executed if different from the date it bears; (d`) the name,
address_, and position of the addressee, it`any; (e) the present location and the name, present address,
and position ofthe person having present custody; and (g) whether the document has been destroyed,
and if so, with regard to such destruction, the dates the reason and the identity of the person or persons
who destroyed the document

5. The above information shall bc given in sufficient detail to enable a party or person to Whom
a subpoena or Request for Production is directed to fully identify the documents sought to be produced
and to enable counsel for the Plaintil`f to determine that such document, when produced_, is, in faet,
the document so described

6. When used in these lnterrogatories, the terms “you" and "‘your(s)” includes the Defendant as
well as the Defendant’s agents, servants, employees, partners, representatives experts and
consultants and unless privileged, the attorneysl

7. “Date"’ means the exact date, month and year, ifascertainable, ifnot__ your best approximation,
which may include relationships to other events

8. lt` any information is withheld under a claim of privilege or other exclusion from discovery,
state the nature of the information or document withheld, the privilege or other exclusion that is

eiaimed, and the facts upon which the claim of privilege or exclusion is based

bag

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9, 'l`hc singulars shall be deemed to include the plural and viceaversa and the words “and" and
"or" shall be construed either conjunctively or disjunctively, in the manner which affords the broadest
scope to the interrogatories
lO. Do not respond to any interrogatory merely by stating, “see attachcd.” Specifically identify
the particular documents that are responsive to each Interrogator'y.
l l. for the convenience of the Court and the parties, please restate each interrogatory to your
written response prior to your written identification of the produced documents
l2. The word, "person"' means any natural person, firm or corporation1 partnership, joint venture,
or any other form of business entity

RE()UEST FOR PRODUCTION OF DOCUMENTS
Please produce the following:

l. Any and all police reports related to the incident complained of in any way.

l\_)

A|l witness statements and/or interviews, whether written or otherwise recorded,
regarding the incident complained of herein (including name, address, and telephone

number ofthc witnesses).

3. All tangible items memorializing the incident that is the subject of the incident
complained of hercin.

L'l. Any and all use of force reports/docunrents related to the incident complained of.

5. The complete personnel tile of each named Defcndant which should include but it not
limited to training records regarding use of force, citizen complaints1 and performance
evaluations

6. /\ll policies, procedures, and guides that relate to the use ot`for'ce.

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7. /*\ll statements and/or interviews, written or otherwise, obtained from anyone in
connection with the incident complained of hcrein.

8. Any and all documents relating to any investigation of the incident complained of.

9. An_v and all audio/video recordings relative to the incident complained of.

l(). Any and all court documents in your possession which in any way relates to the incident
complained ol".

l l. Any and all transcripts possessed which in any way relates to the incident complained
ol".

l2. Any entails or social media documents possessed which in any way relates to the
incident complained of.

13. Any and all jail records ofPlaintiff which in any way relate to the incident complained
of herein

RESPONSE:

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These chuests for Pr'oduction of`Documcrrts are deemed continuing up to and through the

time of tr'iai.
Respectfirl y Suhr mi ted

CllRlSTOPIIE /%k

chin oPr=as'a r./trtr\ri\roft melvin
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/-\tt rneys for l’laintifl

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& § O .I.ATES

 
 

Datcd: October l l, 20l 7

SCC`/
PROOF ()F SERVICE . '
i_
'l`hc undersigned certified that on the / clay ot`October, 20`17= a copy of the foregoing document

was s rare upon the attorney (s} of record by mailing a copy of same to said attorney (s) at their
stat d busin ss address with pre~paid first-class postage affixed thereto l declare under the penalty
ofp "urv[,th t the foreg ing statement is true to the best ofmy int`ormation, knowledge and belief.

itt/w / . rid
sErN/,HUVER L /

 
 

 

